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 8
 9                                UNITED STATES DISTRICT COURT
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11
     LAS VEGAS POLICE PROTECTIVE ASSOCIATION
l
 -   METRO INC.; LAS VEGAS POLICE PROTECTIVE
13   ASSOCIATION CIVILIAN EMPLOYEES, INC.; LAS                   CASE NO.
     VEGAS METRO POLICE MANAGERS &
14   SUPERVISORS ASSOCIATION,
                                                                 DECLARATION OF MARK
15                   ni,    çç                                   CHAPARIANINSUPPORTOF
                       amths.
                                                                 MOTION FOR PRELIMINARY
16           vs.                                                 INJUNCTION
17
     LAS VEGAS METROPOLITAN POLICE
18   DEPARTMENT;
19
                     Defendant.
20
2!
22   I, Mark Chapañan, declare:

23       I. I am the Executive Director of Plaintiff Las Vegas Police Protectivc Association Metro
24           (“PPA) and a Metro officer who has been granted paid leave to work for the PPA

25           pursuant to our Associations collective bargaining agreement with Metro. The PPA

26           represents a bargaining unit of approximately 2835 officers, of which approximately

27           2400 arc PPA members. All the PPA’s representational staff are like mc, Metro officers

28           on leave (a total of 7 of us) except for our attorney David Roger. A true and correct copy
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        of the applicable CBA leave provision is attached hereto as Exhibit A. Similar provisions
 2      have been in prior agreements for many years. Our agreement is set to expire June 30,
 3      2016. Metro has made clear it will not continue those provisions in effect unless our

 4      Association directly reimburses Metro, even though we believe we have already given
 5      consideration for those provisions in prior agreements.
 6             2.      A part of the PPA’s activities is to direct the administration of health
 7      benefits for Metro officers and their families, as Metro does not have a single person
 8      performing benefit functions, unlike what most other employers do. Four of us on-leave
 9      Metro employees use some of our leave time to sit on the board of trustees governing the
10      health plan; most of that work is nonadversadal in nature.
II             3.      If 1 and my fellow PPA representatives are deprived of this union leave,
12      we do not have sufficient vacation time to cover more than a small percentage of the
13      work we have been doing, and accordingly either the PPA vil1 have to begin paying us
14      directly or we will have to curtail our representational activities. Neither I nor my fellow
IS      representatives would want to go onto the Association’s payroll because we would lose
16      our commissioned status as a peace officer, he taken out of the health and PERS plans
17      (which would cost us significantly bitt not in a way that could be readily calculated). Our
IS      Association cannot afford, except on a short-tent basis to pay for all of us representatives
19      without drastically curtailing our other representational activities such as lobbying and
20      provision of legal counsel to memhers. To reimburse Metro or pay ftw us to be on the
21      PPA payroll, PPA would have to increase dues receipts substantially, and that would
22      require a vote of the membership, assuming members were not dropping out, and there
23      would be significant opposition to a dues increase. Once members drop out, we will be
24      less effective as an organization because we will speak for a smaller percentage of the
25      department’s officers, and not have much communication with the non-union officers
26      (who will not be on our mailing lists and will not have the right to attend meetings or
27      vote). If dues increase, members would demand the PPA seek higher wages at the
28      bargaining table to cover this increase, which will increase the difficulty and cost of
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 1      negotiations for Metro and PPA, and consume more time and resources for both the PPA
 2      and management.
 3               4.    We on-leave representatives spend much of our time communicating with
 4      legislators and managers about Metro employees’ needs mid probLems, and we also
 5      communicate with the employees about proposed legislation and proposed or past
 6      management decisions, including bargaining issues and grievances. Much of our work
 7      IhIlills the Legislature’s requirement in NRS 28S.080 that a peace officer under
 8      investigation for misconduct is entitled to have two representatives present during their
 9      interrogation or hearing. If SB 241 is implemented by Metro we will likely     not   be able to
10      fully staff such interrogations and hearings.
11               5.    Some of what we do with our paid leave is to encourage Metro employees
12      to join the PPA, and we will no longer be able to do that to the same extent if we have our
13      leave hours cut, and hence the PPA is likely to lose dues revenue from that reduction in
14      organizing.
15               6.    We believe Metro has provided paid leaves within the past several years
16      for employees to work for and with the following groups that engage in advocacy work:
17      Nevada Chiefs and Sheriffs Associations; Police Athletic League; Ethnic labor groups;
18      DARE (now disbanded): and crisis inteiventionladvoeacy groups such as PEAP. Metro
19      also has sent managers on paid status to lobby in Carson City and before the County and
20      various cities. We are aware ofno legislative ban on such activities, but only on our paid
21      leave.
22               7.    Metro and the public benefit From us having paid leave: (a) Metro might
23      well have to pay more if it were to hire other individuals or entities to handle the health
24      benefit functions that we perlbim: (b) we are more familiar with Metr&s current
25      conditions than someone hired from the outside to represent these employees would be,
26      and we have access to areas which a civilian is ordinarily barred from such as jails and
27      crime scenes where we do much of our work investigating use-or-force incidents; having
28      outside representatives take ovcr for us would require Metro go through the process of

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            determining whether to grant them security clearances; (c) being on paid leave allows us
 2          to conduct grievance meetings, investigative meetings, committee meetings and meet-
 3          and-confer sessions during our managers’ regular workdays rather than expecting them to
 4          meet after hours or on their days off; both we and our management counterparts would
 5          end tip working excessive hours and becoming exhausted (and hence perhaps dangerous
 6          to ourselves and others) if every meeting had to occur outside representatives’ regular
 7          work hours: (d) our being available immediately on the job allows meetings to occur
 8          while or immediately after a problem occurs on the job (and   at   a lime and place where we
 9          representatives can directly observe conditions), rather than having to occur long after the
I0          flict and away from the worksite because the representative was instead required at the
11          time of events to be on duty elsewhere at the agency. This makes for more sound
12          decision making on the part of both management and our Association.
13                  8.     We at the PPA reduce Metro’s problems in recruitment and retention of
14          public employees and morale problems by gathering information from current and
15          prospective employees and the community and providing it to government officials, and
16          by communicating information to Metro employees. Many times we have counseled
17          ernployecs with performance issues to obtain outside help with their personal problems,
18          problems they never would have admitted to management representatives.
19                  9.      I have read thc Complthnt in this action and it is ttue and correct ofmy
20          own personal knowledge.
21   1 declare under penalty of pei5ury’ of the laws of the United States and Nevada that the Ibregoing
22.eLExecutedthis7hh1dayofOctober20l5.




25   MARK CHAPARIAN
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                      Exhibit A
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    COLLECTIVE BARGAINING
         AGREEMENT
                             between


           Las Vegas Metropolitan
             Police Department
                                   &

        LAS VEGAS POLICE PRonCnvE
                Ass0CL4TION




                     July 1,2014   —   Junc 30, 2016
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                         ARTICLE 5- ASSOCIATION BUSINESS
53 Lrnsi’e Hours. The Department agrees to provide 1000 hours each fiscal year, accumulative for the
duration of this contract, for the use of PPA members to conduct Association business associated with the
administration of the collective bargaining agreement which is inclusive of representation of bargaining
unit employees and including day-co-day operations, i.e., conventions, seminars, training, and lobbying
during the legislative session. Once the maximum yearly hours are exceeded, vacation leave will be used.

£2 Liii, its on Use. No more (han one individual from a section/unit/squad may use Association leave at
any given time. Exceptions may be granted by the SheriflYdesignee.

£3 .4oeiatioii Aut!,orftation.     The Executive Director, or his designee, will determine the use of
Association leave.

5.4Applicatioufi;rLeuve. Members relieved from duty for purposes listed above will submit LVMPD 2
(Application for Leave) through the chain of command to Payroll. The application for leave will indicate
the hours absented are for Association business.

5.5 Fult-ThneA.csociatioz, Positions. The Association xviII be allowed to maintain one Ml time employee
representative for every 400 employees in the bargaining unit. The Association will be allowed to
maintain eight (8) full-time employee positions until a successor collective bargaining agreement is signed
into effect During the term of tIns agreement, the PPA agrees not to request any additional full-time
representatives. Such positions will be filled by appointment of the Executive Director and confirmation
of the LVPPA Board of Directors. The LVPPA Board of Directors may also elect to reimburse the
Department for hours used beyond the hours defined in 5.1 for one additional full-time position.

Employees who are assigned to the Association Ml time after July I, 2009, will be entitled to ADP.
Upon completion of the tent, the Executive Director, Assistant Executive Director(s), and full time
representatives shall return to the previously held classification, position, and work assignment within the
Department, or any successor position such members would have been reclassified had they not been
serving in this capacity. Seniority will apply as if the member remained in that assignment. Members
serving in a fill time capacity shall be assigned to the Office of the Deputy Chief, Professional Standards
Division. The Deputy Chief will be informed of all annual, sick, and/or other leaves used by the members
serving in a full-time capacity.

5.6 Duties of Compensated Representatives. The representatives so elected or appointed shall devote the
full time provided by the Department to matters of collective bargaining or representation for Las Vegas
Metropolitan Police Department’s commissioned employees. Any dine devoted by the representatives to
employees of any other entity must be on other than the hours provided by the Department for this
position.

5.7 Bulled,, Boards. It is the right of the PPA Board of Directors or their designee to use the provided
space on the bulletin boards for the posting of notices concenung legitimate Association business. A copy
of all material to be posted ;vill be sent to the Sheriff and/or his representative when posted.

It is understood that no material will be posted, distributed, or circulated by any employee while in or on
LVIvWD property which contains:

    •   Untrue personal attacks upon any member or any other employee;
    •   Untrue scandalous, scurrilous, or derogatory attacks upon Administration or the LVPPA;

    •   Untrue attacks on any other employee association regardless of whether the organization has local
        membership;
    •   Attacks on and/or favorable comments regarding a candidate for any public political office.

Any Association member claiming that tIns section has been violated is responsible for filing a Brief of
Complaint.


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